Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 1 of 16 Page ID #:4157

                                                                       JS-6
    1
    2
    3
    4
    5
    6
    7
    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11   ALI ASGHARI, DANIEL TRAN,            Case No. CV13-02529 MMM (JEMx)
        YUNG KIM, ARA
   12   DERSARKISSIAN, and KATRINA           Hon. Margaret M. Morrow
        NOBLE individually, and on behalf
   13   of a class of similarly situated     CLASS ACTION
        individuals,
   14
                    Plaintiffs,              FINAL JUDGMENT
   15
              vs.
   16
        VOLKSWAGEN GROUP OF
   17   AMERICA, INC., VOLKSWAGEN
        AG, AND AUDI AG,
   18
                     Defendants.
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                      FINAL JUDGMENT
Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 2 of 16 Page ID #:4158



    1                              ORDER AND JUDGMENT
    2         The Court has received and considered the proposed Settlement Agreement
    3   (“Settlement Agreement”) between Plaintiffs Ali Asghari, Daniel Tran, Yung
    4   Kim, Ara Dersarkissian, and Katrina Noble, on behalf of themselves and the
    5   Settlement Class (collectively, “Plaintiffs”) and Defendant Volkswagen Group of
    6   America, Inc., Volkswagen AG, and Audi AG ( “Defendants”). The Court held a
    7   Fairness Hearing on May 4, 2015, pursuant to the Preliminary Approval Order
    8   entered on October 16, 2014. The Court has determined that notice of the Fairness
    9   Hearing was given in accordance with the Preliminary Approval Order to
   10   members of the Settlement Class, and that the notice was adequate. On May 29,
   11   2015, the court entered an order finally approving the parties’ settlement of this
   12   action and awarding attorneys’ fees, costs, and incentive awards. Accordingly,
   13          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS
   14   FOLLOWS:
   15         1.     All terms used herein shall have the same meaning as defined in the
   16   Settlement Agreement.
   17         2.     This Court has jurisdiction over the subject matter of this litigation
   18   and over the Parties to this litigation, including all Class Members.
   19         3.     The Court certifies the following Settlement Class for purposes of
   20   settlement only: “All persons and entities who purchased or leased any 2009
   21   model year Audi A4 vehicle; 2010 model year Audi A4 or Audi A5 vehicle; or
   22   2011 model year Audi A4, Audi A5, or Audi Q5 vehicle, originally equipped with
   23   a factory-installed 2.0 liter TFSI longitudinal engine bearing Audi internal engine
   24   code CAEB (“CAEB Engine”), imported and distributed by Defendant
   25   Volkswagen Group of America, Inc. for sale or lease in the United States of
   26   America or Puerto Rico.”
   27         Excluded from the Settlement Class are (a) anyone claiming personal
   28   injury, property damage and/or subrogation; (b) all Judges who have presided over

                                                  1
                                           FINAL JUDGMENT
Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 3 of 16 Page ID #:4159



    1   the Actions and their spouses; (c) all current employees, officers, directors, agents
    2   and representatives of Defendants, and their family members; (d) any affiliate,
    3   parent or subsidiary of Defendants and any entity in which Defendants have a
    4   controlling interest; (e) anyone acting as a used car dealer; (f) anyone who
    5   purchased a Settlement Class Vehicle for the purpose of resale; (g) anyone who
    6   purchased a Settlement Class Vehicle with salvaged title and/or any insurance
    7   company who acquired a Settlement Class Vehicle as a result of a total loss; (h)
    8   any insurer of a Settlement Class Vehicle; (i) issuers of extended vehicle
    9   warranties and service contracts; (j) any Settlement Class Member who, prior to
   10   the date of this Agreement, settled with and released Defendants or any Released
   11   Parties from any Released Claims, and (k) any Settlement Class Member that files
   12   a timely and proper Request for Exclusion from the Settlement Class.
   13         4.     The Court appoints Plaintiffs Ali Asghari, Daniel Tran, Yung Kim,
   14   Ara Dersarkissian, and Katrina Noble as representatives of the above-described
   15   Settlement Class.
   16         5.     The Court finds that Strategic Legal Practices APC, Capstone Law,
   17   APC, Diversity Law Group, P.C., Law Office of Choi & Associates, Eco Tech
   18   Law Group, P.C. and the Law Office of Hovanes Margarian are experienced in
   19   matters of this nature and the Court hereby appoints said law firms as Class
   20   Counsel. Further, the Court appoints Strategic Legal Practices APC and Capstone
   21   Law, APC as Lead Class Counsel.
   22         6.     The mailing and publication of the Class Notice to the Class as set
   23   forth in the Settlement Agreement has been completed in conformity with the
   24   October 16, 2014 Preliminary Approval Order (Dkt. No. 156). The Class
   25   Notice provided adequate notice of the proceedings and about the case, including
   26   the proposed settlement terms as set forth in the Settlement Agreement. The Class
   27   Notice fully satisfied due process requirements. As executed, the Class Notice
   28   was the best notice practicable under the circumstances.

                                                  2
                                           FINAL JUDGMENT
Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 4 of 16 Page ID #:4160



    1         7.     The Court finds that appropriate notice was given by defendant to all
    2   “appropriate State and Federal Officials” pursuant to 28 U.S.C. §1715(a), and
    3   that no objections were filed.
    4         8.     The Court hereby approves the terms set forth in the Settlement
    5   Agreement and finds that the Settlement Agreement is, in all respects, fair,
    6   adequate, and reasonable and directs the Parties to effectuate the Settlement
    7   Agreement according to its terms. The Court finds that the Settlement Agreement
    8   has been reached as a result of informed and non-collusive arm’s-length
    9   negotiations. The Court further finds that Plaintiffs and Defendants have
   10   conducted extensive investigation and research, and their attorneys were able to
   11   reasonably evaluate their respective positions.
   12         9.     The Court also finds that Settlement now will avoid additional and
   13   potentially substantial litigation costs, as well as delay and risks if the Parties
   14   were to continue to litigate the case. Additionally, after considering the
   15   prospective and monetary relief provided as part of the Settlement in light of the
   16   challenges posed by continued litigation, the Court concludes that Class Counsel
   17   secured significant relief for Class Members.
   18         10.    The Settlement Agreement is not an admission by Defendants or by
   19   any other released party, nor is this Order a finding of the validity of any
   20   allegations or of any wrongdoing by Defendants or any other released party.
   21   Neither this Order, the Settlement Agreement, nor any document referred to
   22   herein, nor any action taken to carry out the Settlement Agreement, may be
   23   construed as, or may be used as, an admission of any fault, wrongdoing, omission,
   24   concession, or liability whatsoever by or against Defendants or any of the other
   25   released parties.
   26         11.    All Class Members were given a full and fair opportunity to
   27   participate in the Approval Hearing, and all members of the Settlement Class
   28

                                                    3
                                            FINAL JUDGMENT
Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 5 of 16 Page ID #:4161



    1   wishing to be heard have been heard. The objections of Anthony J. Cirillo,
    2   Richard L. Whynot, Richard M. King, Jr., Charles Theodore Koehn, John E. Voris
    3   & Karen Prah Voris, Debra Bliss, Lars H. Boettger, Comfort Onylah, Tobey
    4   Salem, Thomas A. Knott, Gautam Garg, Eric D. Jordan, Susan D. Ritchey,
    5   William B. Hammett, and Michael Ghozland are hereby overruled. Members of
    6   the Settlement Class also have had a full and fair opportunity to exclude
    7   themselves from the proposed settlement and the class. Accordingly, the terms of
    8   the Settlement Agreement and of the Court’s Order shall be forever binding on
    9   members of the Class who did not timely exclude themselves. Attached to this
   10   Judgment as Exhibit A is a list setting forth the name of each person who has
   11   requested exclusion from the Class under the procedures set forth in the
   12   Preliminary Approval Order.
   13         12.    To effectuate the Settlement, the Court hereby orders that all Class
   14   Members who did not timely exclude themselves from the Settlement are barred,
   15   enjoined, and restrained from commencing, prosecuting, or asserting any
   16   Released Claims against any Released Parties.
   17         13.    The Court has considered the Motion for Attorneys’ Fees, Expenses,
   18   and Costs separately from its consideration of the fairness, reasonableness, and
   19   adequacy of the Settlement Agreement. Any order or proceedings relating to the
   20   Motion for Attorneys’ Fees, Expenses, and Costs, or any appeal from any order
   21   relating thereto or reversal or modification thereof, shall not disturb or affect this
   22   Judgment or affect or delay the finality of this Judgment.
   23         14.    The Court awards $1,703,704.63 in fees and $100,000 in costs and
   24   expenses, to be allocated according to the fee allocation agreement among Class
   25   Counsel.
   26         15.    The Court also approves service awards of $2,500 to Ali Asghari,
   27   Daniel Tran, Yung Kim, Ara Dersarkissian, and Katrina Noble for their services
   28   on behalf of the Settlement Class, and accordingly orders Defendants to pay those

                                                   4
                                            FINAL JUDGMENT
Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 6 of 16 Page ID #:4162



    1   amounts to Class Counsel for distribution to these Named Plaintiffs and class
    2   representatives.
    3         16.    The Court retains jurisdiction over the Parties to enforce the terms
    4   of the Order and Judgment, and shall have continuing jurisdiction over the
    5   construction, interpretation, implementation, and enforcement of the Settlement
    6   Agreement in accordance with its terms.
    7               IT IS SO ORDERED, ADJUDGED, AND DECREED.
    8
    9
   10   Dated: May 29, 2015                    _______________________________
   11                                          Hon. Margaret M. Morrow
   12                                          U.S. District Judge
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                  5
                                          FINAL JUDGMENT
Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 7 of 16 Page ID #:4163




                                EXHIBIT A
Case
    2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 8 of 16 Page ID #:4164
                       Name                        VIN
      1 MARTHA STEWART                   WAUXF78K79A184496
     2 RANDALL B SEXTON                  WAUWFAFRXBA059913
     3 LESLIE N BLANK                    WAUWFAFR8AA071203
     4 BURNELLA D WILLIAMS               WAUWFAFR6AA015387
     5 ALLAN J BOWDITCH                  WAUWFAFLXAA160718
     6 JOAN C GALLANT                    WAUWFAFL9BA133432
     7 ROBERT B HANDER                   WAUWFAFL8AA083296
     8 GEOFFREY DUIN                     WAUWFAFL6BA116720
     9 GEORGE H GOTCSIK                  WAUWFAFL6BA046460
     10 GEORGE FARINA                    WAUWFAFLSAA104881
     11 SUE GLAZER                       WAUWFAFLSAA025209
     12 KAM W FUNG                       WAUWFAFL4BA034002
     13 LEWIS CLAYMAN                    WAUWFAFL4BA019631
     14 CHAD JAMES W ANDERSON            WAUWFAFL4AA147401
     15 JANE A BERGMAN                   WAUWFAFL3AA119072
     16 ROBERT BARTUSCH                  WAUWFAFL2AA018959
     17 CHARLES B SWARTWOOD              WAUWFAFLOBA106653
     18 RODNEY L BABCOCK                 WAUWFAFLOBA014300
     19 REBECCA L SCHMIDT                WAUWFAFLOAA088816
     20 JAIMIE K CAMBI                   WAUVFAFRXBA074911
     21 DIANA ROJAS                      WAUVFAFRSAA007454
     22 PAULINE M CICHON                 WAUVFAFH4AN020891
     23 DORYANN L CHASEN                 WAUVF78K89A178147
     24 SHARON R HANSBURY                WAUVF78K69A170404
     25 RENATA DilULlO                   WAUVF78K69A092304
     26 CHEN SU                          WAUVF78K49A166867
     27 COLIN N LOCKE                    WAUVF78K39A221003
     28 ANNE E MENGDEN                   WAUSFAFL8BA084674
     29 EDGAR LEVENSON                   WAUSFAFL8BA042814
     30 JOHN W RETALLACK                 WAUSFAFL7BA058535
     31 CHRISTIAN J KNUTSON              WAUSFAFL3AA135951
     32 GREG HEFFELFINGER                WAUSFAFL2AA009256
     33 RICHARD HAMMER                   WAUSF78K99N020542
     34 PAULA KIDDER                     WAUSF78K99A087665
     35 TIFFANY C LAPIERRE               WAUSF78K99A087052
     36 SUSAN E KRASNER                  WAUSF78K99A079954
     37 J M KAVANAUGH                    WAUSF78K89N030284
     38 JEANETIE F ARCURI                WAUSF78K89N027692
     39 THOMAS N SEBEN                   WAUSF78K89N024291
     40 AMERICA A BENCOMO                WAUSF78K89A087186
     41 LEE & SUSAN SCHAUWECKER TRST U   VVAUSF78K79N051045
     42 PAMELA M WARD                    VVAUSF78K79N030440
     43 VERLON R CHEEK                   WAUSF78K69N059086
     44 JAMES R MORTER                   WAUSF78K69N013239
     45 IGOR BURDUJA                     WAUSF78K59N054574
     46 YVONNE M PAPP                    WAUSF78K59N032705




                                           1of9
                                                                         000026
Case
    2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 9 of 16 Page ID #:4165

                           Name                    VIN
     47 SANDRA E COLBY                  WAUSF78K59N028590
     48 JASON M SYLVESTER               WAUSF78K59N027424
     49 BENJAMIN N THOMAS               WAUSF78K49N072080
     so CHARLES P ROLLER                WAUSF78K49N037376
     51 JULIE A ESPARRAGOZA             WAUSF78K49N027902
     52 ATLANTIC ARCHTCTLMLWRK LLC      WAUSF78K49A098704
     53 JULIO MOREIRA                   WAUSF78K39N069901
     54 ROBERT J WYANT                  WAUSF78K39N065959
     55 MARY L RAMMER                   WAUSF78K39N039541
     56 IRENEE ROMANYSHYN               WAUSF78K29N046643
     57 SANDRA L CONANT                 WAUSF78K29A096434
     58 DANUTA MATWIJOW                 WAUSF78K19N044804
     59 VILIN NG-CASTRO                 WAUSF78K19A143355
     60 CHRISTA G STEVENS               WAUSF78K19A097011
     61 KATHERINE S MAURER              WAUSF78K09N059536
     62 DAWN M MERCIER                  WAUSF78K09N044616
     63 SILVIA MONTI                    WAUSF78K09N033650
     64 JOHN CJOWETI                    WAUSF78K09N033566
     65 RONALD MARTINELLI               WAURFAFRXBA027976
     66 WALTER B OLSEN                  WAURFAFR8BA086492
     67 ROSEMARY A MILLS                WAURFAFR8AA059226
     68 ROMEO C PASCASIO                WAURFAFR7BA038689
     69 MARK MALADOWITZ                 WAURFAFR3BA082169
     70 KARAN SINGH                     WAURFAFR1BA023170
     71 KRISTIN ELANE                   WAURFAFROAA033686
     72 LANCASTER MCADEN WILLIS SMITH   WAUMFAFL2AN001014
     73 DAVID R SAGEMAN                 WAUMFAFLOBN050021
     74 JOHN REED                       WAUMF78K69A093139
     75 KAY T SEGERDAHL                 WAUMF78K49N051688
     76 HIDEAKI FURIHATA                WAUMF78K19A123647
     77 MORRIS J HARRISON               WAUMF78K09N061330
     78 Yl L FANG                       WAULFAFR9AA066904
     79 MELVIN HOBERMAN                 WAULFAFR6BA056462
     80 JOHN W RETALLACK                WAULFAFR6BA048748
     81 VIVIAN L PENSAK                 WAULFAFR6AA004814
     82 LAURA G KENNEDY                 WAULFAFR4BA051485
     83 AMY PREW                        WAULFAFR4BA009494
     84 WILLIAM W STOUT                 WAULFAFR3BA053129
     85 AM TRADE SYSTEMS                WAULFAFR2BA068401
     86 GARY J CASTALDO                 WAULFAFR2AA045439
     87 JERICA M SHUFFLER               WAULFAFR1AA074267
     88 BRANDON PUENTE                  WAULFAFR1AA065620
     89 GEORGE L BEVAN                  WAULFAFROBA066968
     90 TIMOTHY J BURROWS               WAULFAFROBA047594
     91 CAROL A CHINSKI                 WAULFAFROBA025899
     92 SHI G ZHENG                     WAULFAFROBA011596




                                          2 of9
 Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 10 of 16 Page ID
                                         #:4166
                        Name                      VIN
     93   SALAYEESH JAMAL ABDULLAH A   WAULFAFROAA05130
     94   KRISTY L SCOTI               WAULFAFROAA041289
     95   MARY SAENZ                   WAULFAFH8AN025728
     96   LEES DAVIS                   WAULFAFH7AN022853
     97   JOHN J SEXTON                WAULFAFHSAN024858
     98   PATRICIA A GARRITAN          WAULFAFHSAN023774
     99   ROXANA ZEDAN                 WAULFAFHSAN017053
    100   HOWARD MATERETSKY            WAULFAFH3BN009602
    101   GLORIA G LEWIS               WAULFAFH3AN006892
    102   JEAN E WOLF                  WAULF78KX9N072394
    103   KRISTINE M HYON-LEE          WAULF78KX9N068717
    104   DANIEL F DEPALO              WAULF78KX9N067874
    105   HEELA C KIM                  WAULF78KX9N063811
    106   D BILTCLIFFE                 WAULF78KX9N059354
    107   ALEXIS SENTER                WAULF78KX9N026998
    108   AMANDEEP SINGH               WAULF78K99N033053
    109   THOMAS G BALSANEK            WAULF78K99N024708
    110   MARK Y CASEY                 WAULF78K99N013420
    111   SHAWNEE V BURGER             WAULF78K99A123438
    112   LUCAS E GRUHLKEY             WAULF78K99A086021
    113   MYRNA DAHER                  WAULF78K89N016583
    114   STEVEN G BRINLEE             WAULF78K79N055374
    115   MARLIN K ULSH                WAULF78K79N052989
    116   MARTHA B FICKE               WAULF78K79N028286
    117   GARY 0 ADAMES                WAULF78K79N026540
    118   JESSICA L CARUSO             WAULF78K79N018440
    119   CAROLYN C RUDMANN            WAULF78K79A124605
    120   JOHN LOWENSTINE              WAULF78K69N064342
    121   LORI L HEFFERNAN             WAULF78K69N014430
    122   ALLEN H MARTIN               WAULF78K69A124479
    123   AMI G SADLER                 WAULF78K59N056118
    124   MERVYN COHEN                 WAULF78K59N055566
    125   SERBOUHI S DEMIRDJIAN        WAULF78K59N011048
    126   CLASS CARS                   WAULF78K49N013518
    127   MOIN AHMED                   WAULF78K39N035879
    128   DEAN B MULDONG               WAULF78K39N026129
    129   CONRAD GRADI                 WAULF78K39N013221
    130   ROSEMARY B HENNINGER         WAULF78K39N013140
    131   CHRIS C LECUYER              WAULF78K39A135083
    132   SEAN COLLINS                 WAULF78K29N078125
    133   MARIANNA R FLOWERS           WAULF78K29N067044
    134   VON ROLL USA INC             WAULF78K29N061339
    135   J M KAVANAUGH                WAULF78K29A131672
    136   RUBEN ROUX                   WAULF78K19N036139
    137   LELAND P ZIMMERMAN           WAULF78K19N010107
    138   SUZANNA L BRAUN              WAULF78K19AOS7886




                                         3 of9
 Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 11 of 16 Page ID
                                     #:4167
                        Name                   VIN
    139   BENJAMIN RIGGIO          WAULF78K09N018120
    140   SHIRLEY J BOCCELLA       WAULF78K09N016979
    141   WEBCOR EXECUTIVE FLEET   WAUKFBFLOBA066112
    142   ANGELINA M DOSWALD       WAUKFAFL8BN016402
    143   IRENE E SIENA            WAUKFAFL7ANOS8574
    144   JOHN D MITCHELL          WAUKFAFL4AN023572
    145   DANIEL FUHRMAN           WAUKFAFL1BNOS6143
    146   CHRISTOPHER P TWOMBLY    WAUKFAFLOAN031295
    147   VICKI VOSS               WAUJFAFH9BN010602
    148   JOHN C MCKINLEY          WAUJFAFH9BN002337
    149   LUPE QUINTANA            WAUJFAFH9AN010694
    150   CAROLYN M LANNING        WAUJFAFH8BN012938
    151   KRISTAJ TASKEY           WAUJFAFH7AN018535
    152   WENDELL E MORSE JR       WAUJFAFHSAN014256
    153   KARLA B MARTINEZ         WAUJFAFHSAN008490
    154   PIERRE DEPASSE           WAUJFAFH4AN019173
    155   RAYMOND M REARDON        WAUJFAFH2AN022539
    156   DONN C MEINDERTSMA       WAUJF78KX9N056395
    157   ERICA L GRASSO           WAUJF78KX9N051231
    158   JAMES WRIGHT             WAUJF78K99N076721
    159   SOPHIA Y LIU             WAUJF78K99N045162
    160   MARTA M NOBO             WAUJF78K89NOS4225
    161   BARTS CAR STORE INC      WAUJF78K79N068729
    162   MOON S YOON SCOTT        WAUJF78K69N049427
    163   JOHN W HORNE             WAUJF78K59N049113
    164   NOHL A BRAUN             WAUJF78K39NOS4262
    165   JOHN T VANSCHAFTEN       WAUHFAFLXAN046395
    166   ZACHARY S MATHEWS        WAUHFAFL9ANOS5833
    167   JOHN M WACKER            WAUHFAFLSANOS0225
    168   DARCY BENSON             WAUHFAFL4BN000823
    169   KARLA M PETERSEN         WAUHFAFL4AN016082
    170   CHRISTOPHER C GORSKI     WAUGFAFR7AA053120
    171   REBECCA S UFKES          WAUGF78K99A241703
    172   HARVEY LEVINE            WAUGF78K59A084736
    173   JAMES H BONIFACE         WAUGF78K49A061478
    174   KATHERINE BERNTZEN       WAUGF78K39A240269
    175   KATHERINE N TAYLOR       WAUGF78K39A192983
    176   JOSEPH L MARTIN          WAUGF78K29A221325
    177   LESTER D STOLL           WAUGF78K09A197137
    178   KYLE D OCHSENBINE        WAUFFAFLXBN052142
    179   ROBERT MARTINO           WAUFFAFLXBN051931
    180   MARY CHAMBERS            WAUFFAFLXBA085987
    181   HAEJIN WANG              WAUFFAFLXAN068131
    182   PHILIP D LUBITZ          WAUFFAFLXANOS2625
    183   CASSILL MOTORS INC       WAUFFAFLXAN023383
    184   BRANDON L JACOBO         WAUFFAFL9BN051015




                                     4 of 9
 Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 12 of 16 Page ID
                                       #:4168
                         Name                VIN
    185 MARK B GOLDBERG              WAUFFAFL9BN028513
    186 ROBERT A VARMA               WAUFFAFL9BN006284
    187 AUDREY A PAULE               WAUFFAFL9BA063544
    188 SHARON A MORETII             WAUFFAFL9AN058013
    189 ATLANTIC ARCHTCTLMLWRK LLC   WAUFFAFL9AN004372
    190 J MICHAEL VENTO M D INC      WAUFFAFL8BN042709
    191 TERESA A RICE                WAUFFAFL8BN028339
    192 JOSEPH L MARTIN              WAUFFAFL8AN002158
    193 MIRIAM SHUTZER               WAUFFAFL7BN055175
    194 TERRENCE BRENNAN             WAUFFAFL7BN051921
    195 DAVID J STEINBERG            WAUFFAFL7BN035881
    196 ANDREW T HEADLEY             WAUFFAFL7BN027554
    197 OCTAVIO HERRERA              WAUFFAFL7AN066269
    198 CHARLES ELAND                WAUFFAFL7AN065106
    199 ELIZABETH M RUGGIERO         WAUFFAFL6BN024015
    200 SARAH LEIGH FOGLEMAN         WAUFFAFL6BN021096
    201 ANDREA L HAND                WAUFFAFL6BN011202
    202 LAURA D PERRY                WAUFFAFL6BN004542
    203 LAURA YANG                   WAUFFAFL6BA064585
    204 MAYUKH SINGH                 WAUFFAFL6AN021047
    205 SLAWOMIR MODZELEWSKI         WAUFFAFLSBN045616
    206 MEGAN A GUISINGER            WAUFFAFLSBN025088
    207 JOSEPH J STELMA              WAUFFAFLSBN018108
    208 JOCELYN L FLEISHER           WAUFFAFLSBN007884
    209 ERIC M BUCK SR               WAUFFAFLSBN005584
    210 LAVAUN I BALDWIN             WAUFFAFLSAN042374
    211 ANNE T DAVENPORT             WAUFFAFLSAN017491
    212 ANNA M FONDA                 WAUFFAFLSAN010122
    213 LAVI SEKHON                  WAUFFAFL4BN052993
    214 KENNETH W ZIEGLER            WAUFFAFL4BN049592
    215 CYNTHIA S SIEGENFELD         WAUFFAFL4BN021534
    216 TERENCE W NIXON              WAUFFAFL4BN020173
    217 HUGH H FUGLEBERG             WAUFFAFL4AN068898
    218 DAVID M SNELL                WAUFFAFL4AN056430
    219 LARK P WALTER                WAUFFAFL4AN021063
    220 RONALD G HANNAFORD           WAUFFAFL3BN052435
    221 RUMALDO LOPEZ-VASQUEZ        WAUFFAFL3BN039152
    222 DOTSON BROTHERS              WAUFFAFL3BN020309
    223 CHRISTOPHER R HENQUINET      WAUFFAFL3BN004370
    224 ROBERT GOODMAN               WAUFFAFL3AN052725
    225 FIDELINA MENDOZA             WAUFFAFL3AN043975
    226 THOMAS W NILLES              WAUFFAFL3AN042986
    227 JANET HEIDENREICH            WAUFFAFL3AN027582
    228 ADAM D DEKRAKER              WAUFFAFL3AN013522
    229 MILDRED SIMMONS              WAUFFAFL2BN046772
    230 ZHENKUN WANG                 WAUFFAFL2BN015425




                                       5 of 9





    Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 13 of 16 Page ID
                     Name
                                     #:4169VIN
    231 FRANK A WEIDKNECHT                 WAUFFAFL2AN055051
    232 EDWARD A LONG                      WAUFFAFL2AN045779
    233 EDWIN D KLINE JR                   WAUFFAFL1BN025654
    234 THOMAS P SIEMASZKO                 WAUFFAFL1AN055865
    235 WILLIAM R LIBERATO                 WAUFFAFL1AN035793
    236 DONAVON M BEALS                    WAUFFAFL1AN010117
    237 CANDACE A PAPPAS                   WAUFFAFLOBN051016
    238 LINDA M JONES                      WAUFFAFLOBN028836
    239 LINDA C IRELAND                    WAUFFAFLOBN013656
    240 MARK A GIULIANI                    WAUFFAFLOBA086355
    241 TAMIKA S MOVE                      WAUEFBFL8AN007829
    242 MERARI C PRATIS                    WAUEFBFLOAN049248
    243 TRACEY A EASTIN OR DAVID R EASTI   WAUEFAFLXBN046417
    244 ROY U TWEEDLE                      WAUEFAFLXBN041749
    245 DOMINIC C DOTSON                   WAUEFAFL9BN044125
    246 RANDY M BRAGGS                     WAUEFAFL8BN014081
    247 BRITIANY L COUCH                   WAUEFAFL8AN057432
    248 JUDITH E PARKER                    WAUEFAFL8AN050206
    249 CHERYL M BRANTLEY                  WAUEFAFL7BN048285
    250 SUSAN M KOSTRINSKY                 WAUEFAFL7AN048561
    251 CHARLES MANIGO                     WAUEFAFL6BN029811
    252 LYNDA E SHEPPARD                   WAUEFAFL6AN004048
    253 MARTIN K BREIDSPRECHER             WAUEFAFLSAN030320
    254 HOMER COVERT JEFF D H              WAUEFAFL4BN036854
    255 ELIZABETH MANN                     WAUEFAFL3AN062456
    256 PHYLLIS D RECCHIA                  WAUEFAFL2ANOS9970
    257 JOHN WEYMER                        WAUEFAFLOBNOS4509
    258 MICHAEL J ENGELSGJERD              WAUDFAFL9BN024582
    259 AMERICAN MINT LLC                  WAUDFAFL9AN060707
    260 DANIELA F SUAREZ                   WAUDFAFL3BN028112
    261 JOSEPH J PILEGGI                   WAUCFAFRXAA059850
    262 ADELINO MOREIRA                    WAUCFAFR9AA018500
    263 HEATHER BERTINI                    WAUCFAFR6AA000939
    264 MONICA K KO                        WAUCFAFR1AA035114
    265 SEVAK OHANIAN                      WAUCFAFROBA037941
    266 WOMENS HEALTH ASSOCS OF WESTER     WAUCFAFH9BN002427
    267 TATIANA C MOLIERE                  WAUCFAFH7AN018138
    268 EDWARD G SHUFRO                    WAUCFAFHOBN005121
    269 HIRAM S BALLARD                    WAUCF78K99N044487
    270 TAMMY Z HYSLOP                     WAUCF78K39N069336
    271 GAY BOYNTON                        WAUCF78K39N066971
    272 HUMBERTO E MONTEIRO                WAUBFAFLXBN045867
    273 NOMA YUKO                          WAUBFAFLXBN037588
    274 YIYANG HU                          WAUBFAFLXBN036490
    275 JOHN FUSCO                         WAUBFAFLXBN024727
    276 PATRICIA 0 GEALY                   WAUBFAFLXBN020094




                                             6 of 9





    Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 14 of 16 Page ID
                     Name            #:4170VIN
    277 PATRICIA A PAULSON           WAUBFAFLXBN013808
    278 TIMOTHY H HOWARD             WAUBFAFLXAN067897
    279 LISA M TYREE                 WAUBFAFLXAN052610
    280 ANNABELLA TRIOLO             WAUBFAFLXANOSOSSl
    281 ELAINAH CORDANI              WAUBFAFLXAA046989
    282 REDA E ISMAIL                WAUBFAFL9BN047433
    283 LINDA T SANDERS              WAUBFAFL9BN028235
    284 MINT CLNG SERVICES LLC       WAUBFAFL9BN012701
    285 THERESA A AGRO-WOSKY         WAUBFAFL9AN067082
    286 GAYLE F COOPER               WAUBFAFL9AN063565
    287 DEBRA A PETERSON PAYNE       WAUBFAFL9AN053120
    288 RICHARD E BROWN              WAUBFAFL9AN052758
    289 RAFI ALTAN                   WAUBFAFL9AN010526
    290 BRIAN P MCNAMARA             WAUBFAFL8BN055295
    291 E G STORCK                   WAUBFAFL8BN010521
    292 ELLEN G FORST                WAUBFAFL8AN052654
    293 RICHARD E BOWERS             WAUBFAFL7BN018755
    294 CAROL MCNEAL                 WAUBFAFL7AN066366
    295 KELLY N SNEAD                WAUBFAFL7AN055058
    296 ANGELA CHIU                  WAUBFAFL7AN035392
    297 CALEB L MEINDERTSMA          WAUBFAFL7AN032279
    298 GRACE N KIM                  WAUBFAFL7AN017930
    299 BRIANNA L GILSTRAP           WAUBFAFL6BN040696
    300 WRIGHT GROUP INC             WAUBFAFL6BN040682
    301 MEGAN E ROBERTS              WAUBFAFL6AN050160
    302 RANDALL FOX                  WAUBFAFLSBN048577
    303 PAUL CAMPANELLI              WAUBFAFLSBN036090
    304 LESLIE E FOILES              WAUBFAFLSBN023369
    305 PATRICIA BARR                WAUBFAFLSBA093414
    306 THOMAS A KESSINGER           WAUBFAFLSAA046365
    307 CAROL A PAROBEK              WAUBFAFL4BN048067
    308 KRISTEN L JACKSON            WAUBFAFL4BN041975
    309 ETIA L BOETIGER              WAUBFAFL4BN022651
    310 PAUL J PARISE                WAUBFAFL3BN007252
    311 GERARD E BROUILLARD          WAUBFAFL3AN067448
    312 CHARLES VEDDER               WAUBFAFL3AN052402
    313 TANJA BOGICEVIC              WAUBFAFL3AN019853
    314 BRETI M POWELL               WAUBFAFL3AN015186
    315 DAVID J MCNAIRN              WAUBFAFL2BN041411
    316 CHARLES R PALAZZOLO          WAUBFAFL2BN030988
    317 JENNIFER DUPLISSIE           WAUBFAFL2AN023974
    318 PETER J BARBATO              WAUBFAFL1BN048818
    319 ROBERT F MCLEOD, JR          WAUBFAFL1BN021327
    320 CECILIA SEGOVIA              WAUBFAFL1BA103999
    321 NEIL N GLAZER                WAUBFAFL1AN061664
    322 REDA E ISMAIL                WAUBFAFL1AN004266




                                       7 of 9





    Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 15 of 16 Page ID
                                     #:4171
                         Name                 VIN
    323   KAY SCHACTER                WAUBFAFL1AN002159
    324   MARGARET A POPPITO          WAUBFAFLOBN047725
    325   JANICE S SKINNER            WAUBFAFLOBN036269
    326   MARTHA RAMACORTI            WAUBFAFLOAN059548
    327   RACHEL G WRIGHT             WAUBFAFLOAN056116
    328   ANGELINE WEBB               WAUBFAFLOAN052910
    329   ARLENE R GREENBERG          WAUBFAFLOAN038831
    330   L B KEYES                   WAUBFAFLOAN026520
    331   GREGORY N PRATI             WAUBFAFLOAN011466
    332   CLAUDETIE A RAYMOND         WAUBFAFLOAN004890
    333   DEBORAH D SINGERMAN         WAUBFAFLOAN001889
    334   ROBIN PLOWMAN               WAUAFAFLXBN028014
    335   MICHAEL J MILSTEAD          WAUAFAFLXBN001105
    336   OMAR H ELSAYED              WAUAFAFL9BN032491
    337   ANNA F HEALY                WAUAFAFL9AN070172
    338   REBECCA CHEN                WAUAFAFL9AN011686
    339   MATIHEW TRINH               WAUAFAFL8BN056913
    340   MATIHEW K DOUGLAS           WAUAFAFL8BN044552
    341   FABIAN SUAREZ ALAYON        WAUAFAFL7BN039584
    342   JERRY L DIENER              WAUAFAFL7BN015897
    343   PRISCILLA 0 CHANG           WAUAFAFL6BN031203
    344   JAMES R BLOOM               WAUAFAFL6AN058481
    345   ARLENE D GALLOW             WAUAFAFL6AN056987
    346   GLORIA D BRODY              WAUAFAFLSBN051538
    347   RICK DIAMOND                WAUAFAFLSBN013016
    348   MARIA C CUEVASTAPIA         WAUAFAFLSAN054258
    349   MICHELLE K OLSON            WAUAFAFLSAN018182
    350   MERLE E FRITZ &OR ANITA D   WAUAFAFL4BN015596
    351   MICHAEL OGARA               WAUAFAFL4BN002329
    352   TOYAMA KAZUNORI             WAUAFAFL4AN031330
    353   THOMAS W ABBOTI             WAUAFAFL3AN064612
    354   JENELLE A GERMAIN           WAUAFAFL3AN042318
    355   ZHU VI                      WAUAFAFL1BN049964
    356   IVAN LALIC                  WAUAFAFL1BN010517
    357   DONALD G GRAINGER JR        WAUAFAFLOAN069931
    358   GARETH SYLVESTER            WAUAFAFLOAN031177
    359   FRED C HARRIS               WAUAFAFLOAN018803
    360   HAROLD E HELLENDER JR       WAUAFAFH7BN003406
    361   MARY E DROBKA               WAU4FAFL8AA127143
    362   ENTELA LULO                 WAU3FAFR7BA045650
    363   JUNE TAN                    WA1LFBFPOBA067250
    364   RONALD M SHELTON            WA1LFAFPXBA081215
    365   DARBY B CARMICHAEL          WA1LFAFPXBA053219
    366   ERIC M STADTHERR            WA1LFAFP9BA104810
    367   MAXWELL U FLEMING JR        WA1LFAFP9BA099107
    368   AMRIT BASSI                 WA1LFAFP9BA092772




                                        8 of 9





    Case 2:13-cv-02529-MMM-VBK Document 186 Filed 05/29/15 Page 16 of 16 Page ID
                                     #:4172
                          Name                      VIN
    369 ROBERT J PATCHEN                WA1LFAFP9BA079780
    370 BONNIE L HUMES                  WA1LFAFP9BA035732
    371 JACK DALTON                     WA1LFAFP9BA027601
    372 EQUINOX 2 INC                   WA1LFAFP8BA104331
    373 PAMELA S CARTER                 WA1LFAFP8BA071962
    374 JOHN C HULICK                   WA1LFAFP8BA066888
    375 GUARDIAN EAGLE SEC INC/ GALAL   WA1LFAFP8BA035916
    376 DENNIS AKIONA                   WA1LFAFP7BA103719
    377 WESLEY S MCMILLAN               WA1LFAFP7BA025250
    378 PHILIP BRUNKHORST               WA1LFAFP6BAOS3685
    379 PHIL COOKE PICTURES INC         WA1LFAFP6BAOS2679
    380 FREDERICK G POTIER              WA1LFAFPSBA081235
    381 SZYKOWNY FUNL HOME LTD          WA1LFAFPSBA072034
    382 BARRY L BEAL                    VVA1LFAFP4BA014237
    383 CHRIS GASIENICA                 WA1LFAFP3BA083307
    384 MARC H LABOVICH                 VVA1LFAFP3BA025357
    385 PENG XU                         VVA1LFAFP2BA080124
    386 CAROLE E MATEJKA                WA1LFAFP1BA077683
    387 PATRICK J POLLARD               WA1LFAFPOBA105702
    388 CARL TANGE JR                   WA1LFAFPOBA022626
    389 MARIA BIANCHI                   WA1CFAFP9BA044740
    390 MARIE-LAURE BINAM               WA1CFAFP8BA101042
    391 BARBARA A BREITINGER            WA1CFAFP8BA029565
    392 PATRICIA J PAHK                 VVA1CFAFP6BA025966
    393 DENNIS R SAMUELSON              WA1CFAFP2BA058138
    394 MARY A RODDY                    VVA1CFAFPOBA094345
    395 BRENT BREITHAUPT                WA1CFAFPOBA037367




                                          9 of 9
